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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NEW YORK


  LETICIA LEE,
                                                                 Case No. 6:23-cv-06025-FPG
            Plaintiff,
                                                                 Removed From:
  v.
                                                                 Supreme Court of the State of New
  WARNER MEDIA, LLC; HBO HOME                                    York, County of Ontario
  ENTERTAINMENT, INC.; WARNER BROS.                              Index No.: 134539-2022
  WORLDWIDE TELEVISION DISTRIBUTION
  INC.; NBC UNIVERSAL TELEVISION
  STUDIO DIGITAL DEVELOPMENT LLC; CBS
  BROADCASTING INC.; GRAMMNET NH
  PRODUCTIONS,

  Defendants.


       NOTICE OF MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Defendants Warner Media, LLC, HBO Home Entertainment, Inc., Warner Bros.

Worldwide Television Distribution Inc., NBC Universal Television Studio Digital Development

LLC; CBS Broadcasting Inc., and Grammnet NH Productions (“Defendants”), in accordance with

Rule 12(b)(6) of the Federal Rules of Civil Procedure and through their undersigned counsel,

hereby move this Court for an order dismissing the Amended Complaint in this action with

prejudice pursuant to Fed. R. Civ. P. 12(b)(6) for the following reasons:

       1.         Plaintiff LeTicia Lee (“Plaintiff”) has asserted a copyright infringement claim

against Defendants under the U.S. Copyright Act. Plaintiff alleges that Defendants’ television

shows “Living Single,” “Friends,” “Sex and the City,” and “Girlfriends” infringe her unproduced

treatment and pilot script for her show “Girlfriends.”

       2.         Defendants move to dismiss this lawsuit because Plaintiff, relying on protectable

elements, cannot establish that her work is substantially similar to any of Defendants’ shows, as
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she is required to do under copyright law. Instead, Plaintiff’s claim is fundamentally based on a

highly general, unprotectable similarity, specifically the broad concept of an ensemble comedy

focusing on the personal and professional lives of a group of friends living in an urban setting.

       3.      Defendants intend to file a reply brief in further support of this motion.

       4.      In support of this motion, Defendants rely upon the attached Memorandum of Law,

the Declaration of Elizabeth A. McNamara and accompanying exhibits, Notice of Manual Filing,

and all pleadings herein.

       WHEREFORE, Defendants respectfully request that this Court enter an Order dismissing

the Amended Complaint with prejudice.


Dated: March 6, 2023                          DAVIS WRIGHT TREMAINE LLP
                                              ELIZABETH A. MCNAMARA

                                              By: /s/ Elizabeth A. McNamara
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                                              Attorneys for Defendants Warner Media, LLC;
                                              HBO Home Entertainment, Inc.; Warner Bros.
                                              Worldwide Television Distribution Inc.; NBC
                                              Universal Television Studio Digital Development
                                              LLC; CBS Broadcasting Inc.; and Grammnet NH
                                              Productions




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